                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                      EASTERN (DUBUQUE) DIVISION


UNITED STATES OF AMERICA,                    )     No.    22-CR-01010
                                             )
             Plaintiff,                      )     INFORMATION
                                             )
       vs.                                   )     Count 1
                                             )       18 U.S.C. § 1014: False Statement
BRADLEY SCHLOTFELDT,                         )       to a Financial Institution
                                             )
              Defendant.                     )

The United States Attorney charges:

                                      Count 1

                  False Statement to a Financial Institution

                                    Introduction

      1.     At all times relevant to this Information:

             a. Defendant Bradley Schlotfeldt was a vice president and lending

                officer at the US Bank location in in Monona, Iowa, in the Northern

                District of Iowa.

             b. US Bank was a financial institution insured by the Federal Deposit

                Insurance Corporation.

             c. T.K. and L.K. operated an approximately 900-acre farm near

                Monona, Iowa (hereafter “the farm”). K.F. was T.K.’s stepson but

                did not participate in the operation of the farm.




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             d. Defendant was the loan officer for US Bank with regards to

                multiple loans that T.K. and L.K. obtained from US Bank. One of

                the loans was a farm loan operating line of credit.

                                The False Statement

      2.     On or about March 25th, 2015, in the Northern District of Iowa,

defendant BRADLEY SCHLOTFELDT, knowingly made a false statement for the

purpose of influencing the action of US Bank, a federally insured financial

institution, in connection with a loan, in that the defendant completed and

submitted a loan application for a “Young Farmer” loan, with the payee of the loan

being K.F., indicating that K.F. was then actively operating a farm when, in truth

and in fact, as the defendant well knew, K.F. was not then, and never had, actively

operated a farm.

      This in violation of Section 1014 of Title 18 of the United States Code.

                                              TIMOTHY T. DUAX
                                              Acting United States Attorney

                                              By: /s/ Anthony Morfitt

                                              ANTHONY MORFITT
                                              Assistant United States Attorney




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